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                               UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                   SAN FRANCISCO DIVISION


ANGEL DE JESUS ZEPEDA RIVAS, et al.,           )   CASE NO. 3:20-cv-02731-VC
                                               )
        Plaintiffs,                            )   NOTICE OF ERRATA REGARDING
                                               )   DECLARATION OF ASSISTANT FIELD
   v.                                          )   OFFICE DIRECTOR ALEXANDER PHAM
                                               )   (ECF NO. 264-1)
DAVID JENNINGS, et al.,                        )
                                               )
        Defendants.                            )
                                               )
                                               )
                                               )




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       Federal Defendants respectfully submit this notice of an inadvertently inaccurate statement in

paragraph 22 of the declaration of Assistant Field Office Director Alexander Pham (ECF No. 264-1). A

supplemental declaration from Mr. Pham is attached.



DATED: June 3, 2020                                 Respectfully submitted,
                                                    DAVID L. ANDERSON
                                                    United States Attorney

                                                    s/Shiwon Choe
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